          Case 2:22-cr-00151-WBS Document 46 Filed 11/16/23 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MEGAN T. HOPKINS, #294141
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95823
4    Telephone: 916-498-5700
     Fax: 916-498-5710
5
     Attorney for Defendant
6    JOSE CURIEL

7
                              IN THE UNITED STATES DISTRICT COURT
8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                        )   Case No. 2:22-cr-000151-WBS
11                                                    )
             Plaintiff,                               )   STIPULATION AND ORDER TO
12                                                    )   CONTINUE STATUS CONFERENCE AND
     v.                                               )   EXCLUDE TIME
13                                                    )
     JOSE CURIEL, ET AL                               )
14                                                    )   Date: November 20, 2023
             Defendants.                              )   Time: 9:00 a.m.
15                                                    )   Judge: Hon. William B. Shubb
                                                      )
16
17
18            IT IS HEREBY STIPULATED, by and between the parties, through their respective

19   counsel, Assistant United States Attorney Justin Lee, counsel for plaintiff, Assistant Federal

20   Defender Megan T. Hopkins, counsel for defendant Jose Curiel, and Clemente M. Jimenez,

21   counsel for defendant Roberto Tostado-Cadenas, that the status conference scheduled for

22   November 20, 2023, be continued to January 22, 2024, at 9:00 a.m.

23            Defense counsel continues to review discovery and conduct investigation in this case.

24   The parties anticipate an initial plea offer from the government prior to the next status

25   conference, and will require additional time to review the offer with the defendants and respond

26   to the government. The parties believe a continuance to January 22, 2024, will permit defense

27   counsel the additional time necessary to conduct pretrial investigation, identify and interview

28   witnesses, obtain pertinent records, and finalize any further pre-plea negotiations.
       Case 2:22-cr-00151-WBS Document 46 Filed 11/16/23 Page 2 of 3



1            The parties agree that the ends of justice served by resetting the status conference date
2    outweigh the best interest of the public and the defendant in a speedy trial. Therefore, the parties
3    agree that time is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv) (Local Code T4).
4
5    Dated: November 15, 2023                               Respectfully submitted,
6                                                           HEATHER E. WILLIAMS
                                                            Federal Public Defender
7
                                                            /s/ Megan T. Hopkins
8                                                           MEGAN T. HOPKINS
                                                            Assistant Federal Defender
9                                                           Attorney for Defendant
                                                            JOSE CURIEL
10
11                                                          /s/ Clemente M. Jimenez
     Dated: November 15, 2023                               CLEMENTE M. JIMENEZ
12                                                          Attorney for Defendant
                                                            ROBERTO TOSTADO-CADENAS
13
14                                                          PHILLIP A. TALBERT
                                                            United States Attorney
15
16   Dated: November 15, 2023                                /s/ Justin Lee
                                                            JUSTIN LEE
17                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
18
19
20
21
22
23
24
25
26
27
28
     !Unexpected
      United States v.End
                       Jose of FormulaUnited
                            Curiel et al              -2-
      Stipulation to Continue Status Conference
       Case 2:22-cr-00151-WBS Document 46 Filed 11/16/23 Page 3 of 3


                                                  ORDER
1
2
             IT IS HEREBY ORDERED that the status conference scheduled for November 20,
3
     2023, at 9:00 a.m. is continued to January 22, 2024, at 9:00 a.m. The time period through
4
     January 22, 2024, is excluded under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A)
5
     and (B)(i) and (iv), as the ends of justice served by granting the continuance outweigh the best
6
     interest of the public and the defendant in a speedy trial.
7
     Dated: November 15, 2023
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     !Unexpected
      United States v.End
                       Jose of FormulaUnited
                            Curiel et al              -3-
      Stipulation to Continue Status Conference
